Case 2:O4-cV-O2794-SHI\/|-STA Document 20 Filed 06/02/05 Page 1 of 2 Page|D 12
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CL.§§F~,}'§, Li.:“:§. U§ST. CT.
CAROLYN JOHNSON W,D O'-' Ti\§` !-JEEMPH!S

Plaintiff,

VS. NO. 04-2794-Ma/An

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is plaintiff’ s J unc l, 2005 Application for Attorneys Fees pursuant to the
Equa| Access to Justice Act (“EAJA”).

The motion is hereby referred to the magistrate judge for a determination Any exceptions
to the magistrate’s report shelf be made Within ten (10) days of the report, setting forth particularly
those portions of the order excepted to and the reasons for the exceptions

rr is so oRDERED this l$~L day OfJune, 2005.

M(//"‘/L.m`

SAMUEL H. MAYS, .TR.
UNITED STATES DISTRlCT JUDGE

 

Tm's ciouua'nent entered on the docket sheet in compliance
w.m nme ss and/er 79(3) FacP en '-U) 'O 5 l ,

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02794 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

